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The following constitutes the ruling of the court and has the force and effect therein described.


Signed August 20, 2021
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION
                                                             §
   IN RE:                                                    §         CASE NUMBER: 21-41387-MXM
   RICKY LAROY DORY                                          §
   VICKI RENEE DORY                                          §                   CHAPTER 13
   7224 CHURCH ST                                            §
   FORT WORTH, TX 76112                                      §
                                                             §
                                                             §
         DEBTORS


            AMENDED ORDER CONFIRMING CHAPTER 13 PLAN; VALUING COLLATERAL;
             ALLOWING DEBTOR'S ATTORNEY'S FEES; PROVIDING FOR A TRUSTEE'S
            RECOMMENDATION CONCERNING CLAIMS AND OTHER RELATED MATTERS
                    (WITH REVISIONS TO THE PLAN AS SPECIFIED HEREIN)

       It having been determined after at least thirty-one (31) days notice to all creditors, no hearing having been
   requested and no objection to Confirmation or Valuation having been timely filed , or if filed, having been
   overruled, resolved or withdrawn:

       That the Debtors' Chapter 13 Plan ("Plan") complies with all applicable provisions of Title 11 of the United
   States Code;
       That any fee, charge, or amount required under Chapter 13 of Title 28 of the United States Code or by the
   Plan to be paid before Confirmation has been paid;

       That the Plan has been proposed in good faith and not by any means forbidden by law;
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    That the value, as of the effective date of the Plan, of property to be distributed under the Plan on account of
each unsecured claim is not less than the amount that would be paid on such claim if the estate of the Debtors
were liquidated unde Chapter 7 of Title 11 United States Code on such date;
    That the Plan provides that the holders of secured claims who have not accepted the Plan shall retain their
liens until the earlier of the payment of the underlying debt determined under non bankruptcy law or discharge
under Section 1328; and if this case is dismissed or converted without completion of the Plan, such lien shall
also be retained by such holder to the extent recognized by applicable non bankruptcy law; and the value, as of
the effective date of the Plan, of property to be distributed under the Plan on account of secured claims whose
holders have not accepted the Plan is not less than the amount of those claims; and as to holders of secured
claims who have not accepted the Plan, if property to be distributed pursuant to the Plan is in the form of
periodic payments, such payments will be in equal monthly amounts; and if the holder of the claim is secured by
personal property, the amount of such payments will not be less than the amount sufficient to provide to the
holder of such claim adequate protection during the period of the Plan; or the Debtors will surrender the property
securing such claim to such holder;
    That the action of the Debtors in filing the petition was in good faith;

     That the Debtors have paid all amounts that are required to be paid under a Domestic Support Obligation
that first became payable after the date of the filing of the petition, if the Debtors are required by a judicial or
administrative order or by statue to pay such Domestic Support Obligation;

    That the Debtors have filed all applicable Federal, State, and local tax returns as required by Section 1308
of Title 11 of the United States Code;

    That no objection to Confirmation has been filed by the Trustee or any unsecured creditor , or if so, that the
Debtors will pay under the Plan, all Debtors' projected disposable income for the applicable commitment period,
to be applied to payments to unsecured creditors under the Plan;
    That Confirmation of the Debtors' Plan and the Valuation set forth therein have been recommended by the
Standing Chapter 13 Trustee; and

    That no further operating reports are necessary or required to be filed with the Standing Chapter 13 Trustee .

    IT IS THEREFORE ORDERED that the Debtors' Chapter 13 Plan filed on or about June 10, 2021 is
confirmed.
    IT IS FURTHER ORDERED that the Debtors shall pay to the Trustee the following:

    DEBTOR PAY SCHEDULE NO.             1    (RICKY LAROY DORY)
    PAYMENTS BEGINNING: 07/10/2021 FOR 60 MONTHS IN THE AMOUNT OF:                           $1,020.00

    FOR A TOTAL PLAN BASE AMOUNT OF: $61,200.00
    IT IS FURTHER ORDERED that allowed non-priority unsecured claims will be paid no less than their pro
rata share of the greater of (1.) an unsecured creditor's pool of $0.00, or (2.) the value of Debtors' equity in
non-exempt property of $180.00 reduced by the payment of allowed hypothetical Chapter 7 Trustee's fees,
administrative expenses, and allowed priority claims.
    IT IS FURTHER ORDERED that, if applicable, cause exists to extend the term of the Plan beyond 36
months but not more than 60 months.
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    IT IS FURTHER ORDERED that the Debtors' attorney, BRYEANS AND GARCIA PLLC, is allowed a
total fee not to exceed $4,250.00 with $4,160.00 to be paid through the Plan by the Trustee, unless a greater
amount is approved by separate order of the Court after hearing on fee application.


    IT IS FURTHER ORDERED that for purposes of distribution under the plan, Section 506 and Section
1325 (a)(5) of the Bankruptcy code, the value of collateral securing any claim herein, annual percentage rate
and treatment of the claim secured thereby is as set forth in Section I of the Debtors' Chapter 13 Plan Containing
A Motion for Valuation herein confirmed, except:
                                                                                 TREATMENT
                                                                      ANNUAL   (Monthly Payment
CREDITOR                     COLLATERAL/          CLAIM  COLLATERAL PERCENTAGE Direct, Surrender,
NAME                         COMMENT              AMOUNT   VALUE       RATE       or ProRata)
TARRANT COUNTY TAX            HOMESTEAD/21           $1,718.40     $121,137.00                          Direct
COLLECTOR
    IT IS FURTHER ORDERED that Executory Contracts and Unexpired Leases shall be treated as set forth
in Section I, Paragraph "K" of the Debtors' Chapter 13 Plan and Motion for Valuation herein confirmed , except:

                     ASSUME/          CURE              TERM
§ 365 Party          REJECT           AMOUNT           (APPROXIMATE)               TREATMENT

Not Applicable


    IT IS FURTHER ORDERED that the valuation of collateral subject to a 910 claim or listed as "Direct" is
not res judicata, collateral estoppel, or law of the case as to any party.

     IT IS FURTHER ORDERED that if a Claim is not paid during the Term (Approximate) shown in Section I,
Paragraphs D, E, H I, and/or K of the Plan, the Trustee shall continue to pay the Claim until it is paid in full, as
stated in Section II, Paragraph U of the Plan;


    IT IS FURTHER ORDERED that the Trustee is authorized to receive, endorse, and apply to any
delinquent payments under the Plan, any Income Tax Refund payable to Debtors during the pendency of this
case, and apply any IRS refund in excess of $2,000.00 per year pro rata to Debtors' allowed general unsecured
creditors.

    IT IS FURTHER ORDERED that the Debtors shall not dispose of or encumber any non-exempt property or
release or settle any lawsuit or claim by Debtors prior to discharge without consent of the Trustee or order of the
Court after notice to the Trustee and all creditors.
    IT IS FURTHER ORDERED that the Standing Chapter 13 Trustee is hereby discharged from any liability
from the Debtors' operation of business and from any further duty to investigate the business of the Debtors or to
require further operating reports from Debtors.
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     IT IS FURTHER ORDERED that pursuant to General Order 2021-05, as soon as practicable after the
governmental claims bar date, the Trustee shall prepare and serve on Debtors' counsel, all creditors who were
scheduled, all creditors who filed claims and any party that has filed a Notice of Appearance, a Trustee's
Recommendation Concerning Claims ("TRCC") and notice of hearing thereon. The TRCC may be deemed in
part to be an Objection to Claims. Objections to the TRCC shall be filed within thirty (30) days from the date of
service of the TRCC. Unless an Objection is timely filed as to the amount or class of any claim, the claim will
be allowed or approved only as described in the TRCC, and such amount or class will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely
filed or if the proponent of any such objection fails to attend the court hearing.

    IT IS FURTHER ORDERED that nothing herein or in the Plan shall determine the allowed amount or
class of any claim which matters are hereby reserved until after the applicable claims bar date and the Trustee's
Recommendation Concerning Claims has been filed. Valuation of collateral, interest rate, and treatment of
claims shall be as provided in the Plan or herein.



     IT IS FURTHER ORDERED that priority and unsecured creditors shall receive interest at the legal rate
from the petition date (priority first, then unsecured second) to the extent Debtors' equity in non-exempt property,
less trustee's fees, exceeds the principal amount of allowed priority and unsecured claims, pursuant to section
1325(a)(4) and section 726(a)(5) of the Bankruptcy Code.




                                           # # # END OF ORDER # # #
